8:13-cr-00043-JMG-FG3   Doc # 485   Filed: 10/23/14   Page 1 of 1 - Page ID # 1457




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                             8:13-CR-43

vs.
                                                          ORDER
DOLORES MARIA TORRES,

                 Defendant.

       This matter is before the Court on the defendant's Motion to Dismiss
(filing 470), the United States Magistrate Judge's Findings and
Recommendation that the motion be denied (filing 478), and the defendant's
objection to the findings and recommendation (filing 483). The defendant's
objection reasserts the same arguments she made to the Magistrate Judge.
Filing 483 at 1. Pursuant to 28 U.S.C. § 636(b)(1)(C), the Court has conducted
a de novo review of the record and is persuaded by the Magistrate Judge's
reasoning. Accordingly, the Court will adopt the Magistrate Judge's
recommendation, overrule the objection, and deny the motion to dismiss.

      IT IS ORDERED:

      1.   The Magistrate Judge's Findings and Recommendation
           (filing 478) are adopted.

      2.   The defendant's objection to the Magistrate Judge's
           findings and recommendation (filing 483) is overruled.

      3.   The defendant's Motion to Dismiss (filing 470) is denied.

      Dated this 23rd day of October, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
